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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 UNITED STATES OF AMERICA

 v.                                                Case No. 3:24-CR-00250-S

 KEITH J. GRAY



        UNITED STATES’ WRITTEN STATEMENT REGARDING TRIAL

        Pursuant to the Court’s initial Scheduling Order in the above-referenced matter (Dkt.

11, ¶ 7(e)), the United States of America (“the government”), by and through the

undersigned counsel, files this written statement regarding trial scheduled on February 24,

2025.

        1. The estimated length of trial: The government anticipates its case-in-chief will

           be approximately 6 days in duration, including opening statements and

           reasonable-length cross-examinations of government witnesses.

        2. The status of any plea-bargaining negotiations: The government’s plea offers

           extended to the Defendant Keith Gray (both pre-indictment and post-indictment)

           have been rejected and there are no outstanding offers or negotiations. The

           government is prepared to begin trial as scheduled.

        3. Scheduling conflicts: The government is unaware of any scheduling conflicts

           and intends to make travel arrangements for any out-of-town witnesses to be

           available to testify in-person the week of February 24, 2025.


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      4. Any additional matters: The government separately filed a Trial Brief (see Dkt.

          11, ¶ 7(f)) outlining anticipated issues that may arise at trial. (Dkt. 32.)



                                              Respectfully submitted,

                                              CHAD MEACHAM
                                              ACTING UNITED STATES ATTORNEY

                                              GLENN S. LEON
                                              CHIEF, FRAUD SECTION
                                              CRIMINAL DIVISION
                                              U.S. DEPARTMENT OF JUSTICE


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